        Case 2:17-cv-05753-AB-JC Document 4 Filed 08/03/17 Page 1 of 1 Page ID #:21
 Todd M. Friedman, Esq.
 Law Offices of Todd M. Friedman, P.C.
 21550 Oxnard St., Suite 780
 Woodland Hills, CA 91367
 Phone: 877-206-4741
 Fax: 866-633-0228
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
TERRY FABRICANT, individually and on behalf of                       CASE NUMBER
all others similarly situated,

                                                    PLAINTIFF(S)
                                v.
FAST ADVANCE FUNDING, LLC; and DOES 1
through 10, inclusive,
                                                                                              SUMMONS
                                                 DEFENDANT(S).




TO:      DEFENDANT(S): FAST ADVANCE FUNDING, LLC; and DOES 1 through 10, inclusive,


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
                                                      ✔complaint G
must serve on the plaintiff an answer to the attached G                              amended complaint
G counterclaim G cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Todd M. Friedman                      , whose address is
 Law Offices of Todd M. Friedman, 21550 OxnardSt, Suite780 WoodlandHills, CA 91367 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.


                                                                        Clerk, U.S. District Court


    Dated:                                                              By:
                                                                                          Deputy Clerk

                                                                                        (Seal of the Court)



[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].




CV-01A (12/07)                                                SUMMONS
